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                            Exhibit 32
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 AO 88A (Rev. 12/13) Subpoena to Testify at a Deposition in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                             for the
                                                        __________ District
                                                          Eastern District ofof __________
                                                                             Virginia

               Sony Music Entertainment, et al.                                 )
                                Plaintiff                                       )
                                   v.                                           )      Civil Action No.      1:18-cv-00950-LO-JFA
       Cox Communications, Inc. and CoxCom LLC                                  )
                                                                                )
                               Defendant                                        )

                              SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

 To:     Recording Industry Association of America c/o Jeffrey M. Gould, Oppenheim & Zebrak LLP, 5225 Wisconsin Ave.
                                             NW, Ste. 503, Washington, DC 20015
                                                        (Name of person to whom this subpoena is directed)

      ✔Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
      u
 deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
 or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
 those set forth in an attachment: See Attachment A.


  Place: Winston & Strawn LLP                                                           Date and Time:
            1700 K St., N.W.                                                                              04/30/2019 9:30 am
            Washington, DC 20006

           The deposition will be recorded by this method:                    court reporter and video

       u Production: You, or your representatives, must also bring with you to the deposition the following documents,
         electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
         material:




        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:        04/16/2019
                                    CLERK OF COURT
                                                                                          OR
                                                                                                             s/ Thomas M. Buchanan
                                            Signature of Clerk or Deputy Clerk                                  Attorney’s signature

 The name, address, e-mail address, and telephone number of the attorney representing (name of party)
 Cox Communications, Inc. and CoxCom LLC                                 , who issues or requests this subpoena, are:
Thomas M. Buchanan, Winston & Strawn LLP, 1700 K St. N.W., Washington DC, 20006 (202) 282-5000,
TBuchana@winston.com
                               Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things, a notice
 and a copy of the subpoena must be served on each party in this case before it is served on the person to whom it is
 directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 1:18-cv-00950-LO-JFA

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any)
on (date)                       .

          u I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     on (date)                     ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                 .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                        .

My fees are $                                      for travel and $                      for services, for a total of $   0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                 (i) disclosing a trade secret or other confidential research, development,
                                                                                   or commercial information; or
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                  not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or               study that was not requested by a party.
regularly transacts business in person; or                                            (C) Specifying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly        described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                        modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                      conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial               (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                           otherwise met without undue hardship; and
                                                                                        (ii) ensures that the subpoenaed person will be reasonably compensated.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and                             (1) Producing Documents or Electronically Stored Information. These
   (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                   information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                           (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps             (B) Form for Producing Electronically Stored Information Not Specified.
to avoid imposing undue burden or expense on a person subject to the               If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must             information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include             which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who               (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                   person responding need not produce the same electronically stored
                                                                                   information in more than one form.
 (2) Command to Produce Materials or Permit Inspection.                               (D) Inaccessible Electronically Stored Information. The person
   (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to            from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of       of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,         order, the person responding must show that the information is not
hearing, or trial.                                                                 reasonably accessible because of undue burden or cost. If that showing is
   (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
things or to permit inspection may serve on the party or attorney designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or            26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.        (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for            (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,       under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                         material must:
     (i) At any time, on notice to the commanded person, the serving party              (i) expressly make the claim; and
may move the court for the district where compliance is required for an                 (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                         tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the        privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from        (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                     subpoena is subject to a claim of privilege or of protection as
                                                                                   trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                             that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the court for the district where            information and any copies it has; must not use or disclose the information
compliance is required must quash or modify a subpoena that:                       until the claim is resolved; must take reasonable steps to retrieve the
                                                                                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
                                                                                   subpoena or an order related to it.


                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA

    SONY MUSIC ENTERTAINMENT, et al.,

                      Plaintiffs,
                                          Case No. 1:18-cv-00950-LO-JFA
                v.

    COX COMMUNICATIONS, INC., et al.,

                      Defendants.

             ATTACHMENT A TO THE DEPOSITION SUBPOENA TO THE
               RECORDING INDUSTRY ASSOCIATION OF AMERICA
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                     GENERAL DEFINITIONS AND RULES OF CONSTRUCTION

            Notwithstanding any definition below, each word, term, or phrase used in these Topics is

    intended to have the broadest meaning permitted under the Federal Rules of Civil Procedure.

                1.   “You,” or “Your” shall mean any or all of the Recording Industry Association of

    America (hereinafter, “RIAA”), and/or any of its representatives, all past and present predecessors,

    successors, subsidiaries, affiliates, and parent companies, and all past and present directors,

    officers, partners, employees, agents, representatives, or persons acting on behalf of the forgoing

    entities.

                2.   “Cox” shall refer to Defendants Cox Communications, Inc. and/or CoxCom, LLC.

                3.    “Communication” means the transmittal of information (in the form of facts, ideas,

    inquiries, or otherwise), whether orally, in writing, or otherwise, including but not limited to

    written correspondence, reports, mailings, conversations, meetings, letters, notes, recordings, and

    telegraphic, facsimile, telex or computer-assisted electronic messages (including but not limited to

    e-mail, text messaging, instant messaging, VoIP calls, video conferencing, and posts on social

    media platforms or blogs).

                4.   “Copyright Works” shall refer to those works Plaintiffs claim were infringed and

    for which Plaintiffs seek relief in this litigation, as set forth in Exhibit A hereto.

                5.   “Complaint” shall refer to Plaintiffs’ complaint filed on or about July 31, 2018, in

    the above-captioned matter.

                6.    “Document” or “Documents” as used herein shall have the broadest possible

    construction under the Federal Rules of Civil Procedure, and shall include, but is not limited to,

    all original written, recorded, or graphic materials of any nature whatsoever, all mechanical or

    electronic sound or video recordings or transcripts thereof, and all copies thereof, including
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    without limitation, letters, notes, memoranda, reports, minutes or records of meetings, orders,

    diaries, statistics, source code, statements, publications or articles, transcripts, manuscripts,

    summaries, circulars, books, pamphlets, bulletins, notations of conversations, manuals, speeches,

    drawings, blue-prints, telephone calls, emails, text messages, and instant or internet messaging

    sessions, meetings or other communications or electronic communications of any kind, as well as

    any information or material stored in electronic, mechanical or magnetic media, such as tapes,

    cassettes, computer or floppy disks, email, archived or deleted email, log files, CD-ROM, DVD-

    ROM, personal data organizers, network share drives, electronic mirror-images of hard drives,

    flash drives, flash memory, any information stored on any Electronic Storage Device or in any

    Cloud Storage Account, and any information stored or available on the Internet, or on any hosted

    service provider, or other remote storage facility. A draft or non-identical copy is a separate

    document within the meaning of this term.

            7.     “ISP” shall refer to Internet Service Provider.

            8.     “CAS” shall refer to the Copyright Alert System, or this system prior to the

    adoption of such nomenclature.

            9.     “MarkMonitor” shall refer to MarkMonitor, Inc. and its predecessors, successors,

    subsidiaries, affiliates, members, shareholders, directors, officers, past and present employees,

    agents, representatives, consultants, and any other person or entity acting, or purporting to act, on

    MarkMonitor’s behalf, including but not limited to DtecNet Software and Clarivate Analytics.

            10.    The term “peer-to-peer file sharing sites” shall include websites, other locations on

    the Internet or other networks, services, products, applications, apps, software, hardware, programs

    or programming, code, computer-based products, and/or any similar or related thing, including

    those utilizing the BitTorrent technology or protocol.
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            11.    “Person” shall mean any natural person, firm, association, partnership, government

    agency, or other entity and its officers, directors, partners, employees, former employees,

    representatives and agents.

            12.    “Plaintiff(s)” shall mean any or all of Sony Music Entertainment, Arista Music,

    Arista Records LLC, LaFace Records LLC, Provident Label Group, LLC, Sony Music

    Entertainment US Latin, Volcano Entertainment III, LLC, Zomba Recordings LLC, Sony/ATV

    Music Publishing LLC, EMI Al Gallico Music Corp., EMI Algee Music Corp., EMI April Music

    Inc., EMI Blackwood Music Inc., Colgems-EMI Music Inc., EMI Consortium Music Publishing

    Inc. d/b/a EMI Full Keel Music, EMI Consortium Songs, Inc., individually and d/b/a EMI

    Longitude Music, EMI Feist Catalog Inc., EMI Miller Catalog Inc., EMI Mills Music, Inc., EMI

    Unart Catalog Inc., EMI U Catalog Inc., Jobete Music Co. Inc., Stone Agate Music, Screen Gems-

    EMI Music Inc., Stone Diamond Music Corp., Atlantic Recording Corporation, Bad Boy Records

    LLC, Elektra Entertainment Group Inc., Fueled By Ramen LLC, Nonesuch Records Inc.,

    Roadrunner Records, Inc., Warner Bros. Records Inc., Warner/Chappell Music, Inc., Warner-

    Tamerlane Publishing Corp., WB Music Corp., W.B.M. Music Corp., Unichappell Music Inc.,

    Rightsong Music Inc., Cotillion Music, Inc., Intersong U.S.A., Inc., UMG Recordings, Inc.,

    Capitol Records, LLC, Universal Music Corp., Universal Music – MGB NA LLC, Universal

    Music Publishing Inc., Universal Music Publishing AB, Universal Music Publishing Limited,

    Universal Music Publishing MGB Limited, Universal Music – Z Tunes LLC, Universal/Island

    Music Limited, Universal/MCA Music Publishing Pty. Limited, Universal – Polygram

    International Tunes, Inc., Universal – Songs of Polygram International, Inc., Universal Polygram

    International Publishing, Inc., Music Corporation of America, Inc. d/b/a Universal Music Corp.,

    Polygram Publishing, Inc., Rondor Music International, Inc., and Songs of Universal, Inc., and/or
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    any of its or their representatives, all past and present predecessors, successors, subsidiaries,

    affiliates, and parent companies, and all past and present directors, officers, partners, employees,

    agents, representatives, or persons acting on behalf of the forgoing entities.

            13.     “Stroz Friedberg” shall refer to Stroz Friedberg, an Aon company, and its

    predecessors, successors, subsidiaries, affiliates, members, shareholders, directors, officers, past

    and present employees, agents, representatives, consultants, and any other person or entity acting,

    or purporting to act, on Stroz Friedberg’s behalf.

            14.    “Harbor Labs” shall refer to Harbor Labs and its predecessors, successors,

    subsidiaries, affiliates, members, shareholders, directors, officers, past and present employees,

    agents, representatives, consultants, and any other person or entity acting, or purporting to act, on

    Harbor Labs’ behalf.

            15.    As used herein, the terms “this lawsuit,” “this litigation,” and “this case” refer to

    Sony Music Entertainment, et al. v. Cox Communications, Inc., et al., Case No. 1:18-cv-00950-

    LO-JFA, pending in the United States District Court for the Eastern District of Virginia.

            16.    “And” and “or” shall be construed conjunctively or disjunctively as necessary to

    bring within the scope of the topic all responses that might otherwise be construed to be outside of

    its scope, and the use of the singular form of any word includes the plural and vice versa.

            17.    “Any” and “all” shall mean one or more.

            18.    The term “date” means the exact day, month and year, if ascertainable; and if not

    ascertainable, the closest approximation that can be made by means of relationship to other events,

    locations or matters.

            19.    The terms “reflecting,” “referring,” “relating to,” “concerning” or any derivation

    thereof shall mean, without limitation, consisting of, constituting, containing, mentioning,
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 describing, summarizing, evidencing, listing, indicating, analyzing, explaining, supporting,

 undermining, contradicting, concerning, pertaining to, prepared in connection with, used in

 preparation for, or being in any way legally, logically, or factually connected with the matter

 discussed.

          20.   “Including” shall mean without limitation.

          21.   The term “writings,” “recordings,” and “photographs” are defined to be

 synonymous in meaning and equal in scope to the usage of those terms in Fed. R. Evid. 1001.

          22.   Unless the topic specifically states otherwise, references to the singular shall

 include the plural and vice versa; references to one gender shall include the other gender;

 references to the past including the present and vice versa; and disjunctive terms include the

 conjunctive and vice versa.

                                    DEPOSITION TOPICS

         1.     The custodians and/or authors of the Documents You produced in this litigation,

 including those Documents with the Bates prefix “RIAA_”.

         2.     Your process for searching for, reviewing, and producing Documents in response

 to Cox’s Subpoena Duces Tecum, served on January 8, 2019 (the “Document Subpoena”).

         3.     Your Objections and Responses to the Document Subpoena.

         4.     Your Document retention policies.

         5.     Your understanding or knowledge of the lawsuit styled BMG Rights Management

 (US) LLC et al. v. Cox Communications Inc. and CoxCom, LLC, Case No. 1:14-cv-1611 (E.D.

 Va.).

         6.     Your understanding or knowledge of the number of copyright infringement notices

 that Cox would accept from You and any correspondence between You and Cox regarding same.
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          7.    Your understanding or knowledge of the number of copyright infringement notices

 that other ISPs would accept from You and the number permitted to be sent under the CAS.

          8.    The Master Agreement between You and DtecNet, Inc. (now MarkMonitor), dated

 December 20, 2011 and all related Statements of Work, and the terms of Your agreements with

 MarkMonitor related to sending notices of infringement to ISPs.

          9.    Entities other than MarkMonitor that You considered to monitor and/or detect

 copyright infringement and send copyright infringement notices to Cox.

          10.   The considerations that informed the decision to send notices of alleged copyright

 infringement, including but not limited to MarkMonitor notices, to Cox or Cox subscribers.

          11.   Your management of the MarkMonitor notice program that generated the copyright

 infringement notices upon which Plaintiffs are relying in this litigation.

          12.   Your management of any MarkMonitor notice program between 2010 and 2015 in

 which You were involved, including any corporate, university, or commercial ISP notice program.

          13.   The scope, operation, parameters, and/or terms of any residential, corporate,

 university, or commercial ISP notice program, and how each of these programs differed from one

 another, if at all, including but not limited to Your expectation under each program as to whether

 the ISP would terminate subscribers.

          14.   The “commercial p2p litigation program” contemplated by the Statements of Work

 between You and MarkMonitor between 2012 and 2014.

          15.   Your relationship with Plaintiffs as it relates to this litigation or the Copyright

 Works.

          16.   Your relationship with Plaintiffs as it relates to the MarkMonitor notice program

 that generated the notices upon which Plaintiffs are relying in this litigation.
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        17.      Your relationship with Plaintiffs as it relates to any MarkMonitor notice program

 You managed between 2010 and 2015, including any corporate or commercial ISP notice program

 and the university program.

        18.      Your involvement in the CAS.

        19.      The implementation of the CAS by ISPs and the impact, if any, on the scope of

 copyright infringement through BitTorrent or other peer-to-peer networks, the number of

 copyright infringement notices sent by You, on Your behalf, or on behalf of any of the Plaintiffs,

 and the number of terminations by ISPs based on their receipt of notices.

        20.      Your payments to MarkMonitor in connection with notices of alleged copyright

 infringement.

        21.      Any analyses, reviews, assessments, criticisms, or critiques of the MarkMonitor

 notice program used in connection with the CAS or to generate the notices upon which Plaintiffs

 rely in this litigation, including but not limited to analyses conducted by Stroz Friedberg and

 Harbor Labs.

        22.      Any analyses, reviews, assessments, criticisms, or critiques regarding any other

 MarkMonitor notice program in which You were involved, including any corporate or commercial

 ISP notice program and the university program.

        23.      CCI’s engagement of Stroz Friedberg to perform an analysis of MarkMonitor and

 the scope of any such analysis.

        24.      CCI’s engagement of Harbor Labs to perform an analysis of MarkMonitor and the

 scope of any such analysis.
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         25.      Any actions that You took in response to any analyses, reviews, assessments,

 criticisms, or critiques regarding any MarkMonitor notice program in which You were involved,

 including any corporate or commercial ISP notice program and the university program.

         26.      Your decision to take legal action or not to take legal action against any Cox

 subscriber, account holder, or customer for alleged copyright infringement.

         27.      Your non-privileged Communications with MarkMonitor or any Plaintiff relating

 to this litigation.

         28.      The basis for Your assertion that Communications between You and Your members

 are protected by the attorney-client privilege.
